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FOR PUBLICATION

 

UNITED STATES BANKRUPTCY COURT

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EASTERN DISTRICT OF CALIFORNIA

In re:
Case No. 07-25104
SHEPARD JOHNSON and MONTE `
JOHNSON DC Nos. DNL-S

MHK-22
Debtors.

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oN APPLICATIONS FoR EMPLOYMENT AND CoMPENsATIoN

 

UN|TED STATES BAN
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EASTERN D|STR|CT OFfI-`Ug/.\r|(_:lfy:

Anthony ASebedo, Meegan, Hanschu & Kassenbrock, Gold River,

California, for Meegan, Hanschu & Kassenbrock

Allen C. Massey, United States Department of Justice, Office of
the United States Trustee, for Sara L. Kistler, Acting United

States Trustee

Thomas A. Aceituno, Folsom, California, Trustee

J. Russell Cunningham, Desmond, Nolan, Livaich & Cunningham,

Sacramento, California, for Trustee

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KLEIN, Bankruptcy Judge:

The problem is how, in the wake of the Supreme Court
decision in Lamie v. United States Trustee, 540 U.S. 526 (2004),
to pay counsel to former debtors in possession under ll U.S.C.

§ 330(a) for services needed to effect smooth transition to a
chapter ll trustee. The answer is for the trustee to employ the
debtors’ counsel pursuant to 11 U.S,C. § 327(e) for the specified
special purpose of performing transition services requested by
the trustee. l

A chapter ll trustee was appointed when this contentious
cross-border real estate development case became dead in the
Water. Debtors' counsel made a final fee request under § 330(a)
for work done before and after the trustee took over. The United
States trustee objected that some of the fees were unauthorized
under § 330(a) because counsel's § 327(a) employment expired when
the debtors lost debtor-in-possession status. The case trustee,
who had requested the services, then applied to employ debtors’
counsel under § 327(e) for the specified special purpose of
performing the transition services that he had requested.

As suggested in Lami§, § 327(e) permits the counsel for a
former debtor in possession to become qualified for compensation
under § 330(a) after appointment of a chapter 11 trustee or
conversion to another chapter. The trustee is the main
gatekeeper, and the key to the gate’s lock is § 327(e). Here,

§ 327(e) employment is approved, and the requested fees awarded.

 

 

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Shepard and Monte Johnson commenced their joint chapter ll
case on July 3, 2007. They were embroiled in multiple lawsuits
in California state courts primarily regarding their real estate
development projects in Panama. There was also satellite
litigation against Mr. Johnson in Panama in circumstances that
made him unwilling to travel to Panama.

The law firm of Meegan, Hanshu, & Kassenbrock was timely
authorized to be employed under § 327(a) to represent the debtors
as chapter ll debtors in possession.

The Johnsons remained as debtors in possession until Thomas
Aceituno was appointed as chapter ll trustee on May 23, 2008,
pursuant to 11 U.S.C. § 1104(a1(2). While the debtors had not
mismanaged their affairs in chapter 11 (which the trustee
concedes might yet turn out to be a surplus case) the warring
parties were so enmeshed in intertwined disputes that further
progress toward a confirmable plan of reorganization required
that a neutral party be at the helm.

The reality of this case is that the presence of myriad,
seemingly intractable, transnational legal issues create an
unusually powerful settlement imperative that make it difficult
to conceive of a confirmable chapter ll plan that has not
received a broad base of support. Hence, muscular diplomacy by a
trustee is important.

After his appointment, the trustee requested the assistance

of the debtors’ counsel to help familiarize himself with the

 

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case.

On September 9, 2008, debtors’ counsel made a final fee
application seeking compensation for services rendered before and
after the appointment of the chapter ll trustee.

The United States trustee filed a limited opposition to the
fee application. Based on L§m;§, the opposition contended that
debtors’ counsel could not, with the exception of the expense of
presenting a fee application for services rendered before the
trustee was appointed, receive payment under § 330(a)(l) for
services rendered after the chapter 11 trustee was appointed and
their § 327(a) employment ended.

Siding with debtors’ counsel, the chapter ll trustee then
applied under § 327(e) to employ debtors’ counsel for the
specified special purpose of performing transition services that
he had requested. Counsel logged 15.3 hours in performing
services requested by the trustee during the period from May 23
to August 12, 2008, for which it requests $3,857 and asks to be
paid retroactively based on the requested § 327(e) employment.
The case trustee supports the overall final fee request,
including the $3,857.00 for the services he requested.

As finally adjusted, the § 330(a)(1) fee request seeks a
total of $179,894.24, including the $3,857.00 incurred at the
request of the chapter ll trustee after counsel's § 327(a)
employment ended and $1,625.00 for preparation and prosecution of
the final fee application.

The latest developments are that the trustee, in his new

 

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capacity as successor chapter 7 trustee to himself as chapter ll
trustee,1 has in open court ratified his § 327(e) application and
his support for the fee application for transition services
rendered at his request, and that the United States trustee has
clarified on the record that it does not oppose the proposed

§ 327(e) employment and compensation on that basis.

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Federal jurisdiction is founded upon 28 U.S.C. § l334(a) and

(e)(2). This is a core proceeding. 28 U.S.C. § 157(b)(2)(A).
Issues
l. Whether counsel for a former debtor in possession may

be employed under 11 U.S.C. § 327(e) by a successor
trustee to provide transition services for compensation

under ll U.S.C. § 330(a)(l).

2. Whether the circumstances of this case qualify for

retroactive compensation.

 

lThe conversion to chapter 7, without prejudice to
reconverting to chapter ll to confirm a plan, occurred on the
trustee's motion with consent by the debtors for reasons
associated with tactics and financing of the case. The debtors
contend that the case will turn out to be a “surplus” case in
which the assets exceed liabilities. The trustee, carefully
emphasizing the importance of favorable outcomes of disputes and
excellent cooperation by the debtors, does not disagree that this
could turn out to be a surplus case and that it may yet be
possible to negotiate a confirmable chapter 11 plan.

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Discussion

The analysis of the compensability of services rendered
after the trustee was appointed subdivides into two parts.2
First, there is the problem of the puzzle lying in the wake of
the L§mi§ holding that the act of Congress deleting debtors’
counsel from § 330(a)(1)'s list of those generally entitled to
compensation from the estate could not be disregarded as a
scrivener’s error. Solving the puzzle after the services were
rendered leads to the second question: whether the circumstances
of this situation qualify for retroactive compensation under the
controlling Ninth Circuit standard established in Qkamg;g_y;_l§g

Fin. Cor . In re THC Fin. Cor . , 837 F.2d 389 (9th Cir. 1988).

1
The United States trustee initially objected that debtors’
counsel was ineligible for compensation under § 330(a)(l) because
its § 327(a) authorization expired at the time the debtor ceased
to perform the duties of the trustee as debtor in possession.
While the objection was correct in light of gami§, it
exposes an important practical problem for the efficient

functioning of reorganization cases when a trustee replaces a

 

 

2The court is persuaded that the balance of the fee request
for services rendered to the debtor in possession, as finally
adjusted by the applicant law firm, constitutes reasonable
compensation for actual, necessary services and reimbursement for
actual, necessary expenses. ll U.S.C. § 330(a)(1). It is
further noted that the case trustee supports the entire fee award
and that the United States trustee has clarified that it has no
opposition.

 

 

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debtor in possession: since the choice to appoint a chapter 11
trustee is premised on the view that the debtor is still a viable
candidate for reorganization, it is vital that there be as rapid
and as smooth a transition as possible from debtor in possession
to trustee.

Refusal to pay counsel for a displaced debtor in possession
for services that are necessary to facilitate the transition
stands as an economic disincentive to the assistance that often

is essential to an expeditious transition to a chapter 11

'tI`LlStee .

This problem, as illustrated by the paucity of authority to
which debtors’ counsel and the United States trustee were able to
cite in this case, apparently has perplexed the bar since Lami§
was handed down. The § 327(e) solution to the puzzle, however,
is suggested by pami§ itself.

L§mi§ presented the basic compensation question of the
effect of the deletion by Congress in 1994 of the phrase “or to
the debtor's attorney” from the list at § 330(a)(1) of those

eligible for compensation by the estate.3

 

3The pertinent portion of § 330(a)(1) now provides:

After notice to the parties in interest and the United
States Trustee and a hearing, and subject to sections 326,
328, and 329, the court may award to a trusteec a consumer

privacy ombudsman appointed under section 332l an examinerl
an ombudsman appointed under section 333¢ or a professional

person employed under section 327 or 1103 -
(A) reasonable compensation for actual, necessary

services rendered by the trustee, examiner, ombudsman,
professional person, or attorney and by any paraprofessional
person employed by such person; and

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Although Lami§ involved the different situation of a case
that was converted from chapter 11 to chapter 7, the fact that
its underlying rationale turned on cessation of status as debtor
in possession indicates that there is no reason to doubt that
Lamie applies equally to chapter 11 cases in which a trustee is
appointed.

The Lami§ appellant was an attorney employed under § 327(a)
to represent a chapter 11 debtor in possession. Since the debtor
lost its status as debtor in possession when the case was
converted to chapter 7, the appellant was denied fees for post-
conversion services that included preparation of the various
schedules and reports that are mandated by Federal Rule of

Bankruptcy Procedure 1019(5). Lamie, 540 U.S. at 531-32.

 

The Supreme Court, agreeing that counsel's § 327(a)
employment authorization expired at the time of conversion to
chapter 7, held that “§ 330(a)(1) does not authorize compensation
awards to debtors’ attorneys from estate funds, unless they are
employed as authorized by § 327” and, having previously noted
that § 327(e) authorizes trustees to engage debtors’ counsel,
added that payment from estate funds under § 330(a)(1) requires
that debtors’ counsel “must be employed by the trustee and
approved by the court.” Lami§, 540 U.S. 538-39.

The invocation of § 327(e) as a basis for the Supreme

Court's conclusion that the deletion of “or to the debtor's

 

(B) reimbursement for actual, necessary expenses.
11 U.S.C. § 330(a)(1) (emphasis supplied).

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attorney” in the amended version of § 330(a)(1) was not so
dysfunctional as to warrant construing the statute as meaning
something other than what it says, confirms that § 327(e) is
available as a tool that may be used to enable the compensation
of debtors’ counsel in appropriate circumstances.

The appropriate circumstances necessary to § 327(e)
employment are derived from the face of that section:4 (1) the
trustee must be persuaded to request the employment of debtors’
counsel; (2) the purpose must be a specified special purpose that
does not include representing the trustee in conducting the case;
(3) the employment must be in the best interest of the estate;

(4) the attorney must not represent or hold any interest adverse
to the debtor or to the estate with respect to the services to be
rendered; and (5) the court must approve the employment. 11
U.S.C. § 327(e).

The fourth element ordinarily will be the most problematic
in the context of whether to authorize § 327(e) employment of an
attorney for a debtor in possession following appointment of a

chapter 11 trustee (and of a debtor's attorney in a case

 

4The actual language of § 327(e) is:

(e) The trustee, with the court's approval, may employ, for
a specified special purpose, other than to represent the
trustee in conducting the case, an attorney that has
represented the debtor, if in the best interest of the
estate, and if such attorney does not represent or hold any
interest adverse to the debtor or to the estate with respect
to the matter on which such attorney is to be employed.

11 U.S.C. § 327(e).

 

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converted from chapter 11 to chapter 7). As the § 327(e)
attorney also represents the debtor, navigating what is best
termed the Strait of Conflicts between the Scylla of not
representing or holding an interest adverse to the debtor and the
Charybdis of not representing or holding an interest adverse to
the estate with respect to the proposed services is fraught with
perils that permit only a narrow range of services.

At the stage of authorizing § 327(e) employment, neither the
trustee nor the court can do anything more than predict whether
the Strait of Conflicts will be successfully navigated when the
services are ultimately performed. Hence, that aspect of a
§ 327(e) employment is necessarily preliminary and contingent
upon the course of performance.

Two mechanisms counterbalance the risk of an incorrect
prediction regarding the course of performance by § 327(e)
counsel in the Strait of Conflicts. First, the case trustee can
decline to support compensation. Second, the court is
specifically authorized to deny compensation if, at any time
during the § 327(e) employment, counsel “represents or holds an
interest adverse to the interest of the estate with respect to
the matter on which such professional person is employed.” 11

U.S.C. § 328(c).5 This language mirrors the provision in

 

5The relevant language of § 328(c) is:

Except as provided in ... [§] 327(e), ...; the court may
deny allowance of compensation ... if, at any time during
such professional person’s employment under section 327 ...,
such professional person ... represents or holds an interest
adverse to the interest of the estate with respect to the

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§ 327(e) that the attorney “not represent or hold any interest
adverse to ... the estate with respect to the matter on which
such attorney is to be employed.” 11 U.S.C. § 327(e).

In this case, the first four requirements of § 327(e) have
been satisfied. The trustee has been persuaded to request
§ 327(e) employment of debtors’ counsel. The specified special
purpose is performance of services requested by the trustee to
help familiarize himself with what is unquestionably a complex
case. The employment is plainly in the best interest of the
estate, Counsel does not represent any interest adverse to the
debtor or to the estate with respect to the transition services,
a determination that ironically is rendered less tentative by the
fact that this employment determination is being made ex post
rather than ex ante. Nor has the United States trustee or any
party in interest raised a contest as to these points.

The final element, court approval, is supplied by this

decision and the order implementing it.

ll
As the § 327(e) employment request encompasses services that
were rendered before the application was filed, one must also
consider whether the circumstances satisfy governing standards
for retroactive compensation.

The employment order cannot be entered “nunc pro tunc” to

 

matter on which such professional person is employed.
11 U.S.C. § 328(C).

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the time of the trustee's appointment because the “nunc pro tunc”
(now for then) concept is limited to correcting clerical and
ministerial errors of the court by making the record reflect what
the court “actually intended to do at an earlier date, but which
it did not accomplish due to some error or inadvertence” and
cannot be used to alter the substance of “what actually
transpired or to backdate events to serve some other purpose.”
Singh v. Mukasey, 533 F.3d 1103, 1110 (9th Cir. 2008), quoting
United States v. Sumner, 226 F.3d 1005, 1009-10 (9th Cir. 2000);
accord, e.q., In re Jarvis, 53 F.3d 416, 418-19 n.2 (1st Cir.
1995); Transamerica Ins. Co. v. South, 975 F.2d 321, 325 (7th
Cir. 1992); W.F. Sebel Co. v. Hessee, 214 F.2d 459, 462 (10th
Cir. 1954). It is a facet of a court's inherent power to make
its records “Speak the truth." §pgp, §;ggh, 533 F.3d at 1110.
Notwithstanding that the employment order cannot be entered
retroactively, a bankruptcy court has discretion in exceptional
circumstances to award professional fees that were not authorized
in advance, provided that the professional satisfactorily
explains the failure to obtain approval in advance and
demonstrates that the services provided a significant benefit to
the estate. Law Offices of Ivan W. Halperin v. Occidental Fin.

Groupl Inc. §In re Occidental Fin. Group, Inc.§, 40 F.3d 1059,
1062 (9th Cir. 1994); THC Fin. Corp., 837 F.2d 389, 392 (9th Cir.

1988); Mehdipour v. Marcus & Millichap §In re Mehdipour), 202

B.R. 474, 479-80 (9th Cir. BAP 1996); In re B.E.S. COnCrete

Prods.c Inc., 93 B.R. 228, 231 (Bankr. E.D. Cal. 1988).

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The exceptional circumstances requirement for retroactive
compensation has been satisfied in this case. First, the
satisfactory explanation for not having persuaded the trustee to
apply for § 327(e) employment immediately upon his appointment is
that this solution to the L§mi§ puzzle 4 however apparent it may
be from a close reading of Lami§ - has not been generally
recognized by bench and bar, as reflected by the paucity of
authority located by counsel for the debtors and for the United
States trustee. While, henceforth, the question of § 327(e)
authorization ought to be a routine consideration for trustees,
counsel for debtors, and judges considering whether to displace a
debtor in possession, the fact of the matter is that it has been
sufficiently obscure as to supply a satisfactory explanation for
not having pursued the procedure.

Second, it is apparent that the assistance of debtors’
counsel materially contributed to the ability of the chapter 11
trustee to familiarize himself with the intricacies of the
complex situation.

It follows that the requisite exceptional circumstances have
been demonstrated. Moreover, both the case trustee and the
United States trustee support a determination of exceptional

circumstances.
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Counsel for the former debtors in possession provided

material assistance to, and at the request of, the newly-

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appointed chapter 11 trustee. The case trustee is persuaded that
counsel is worthy of employment under § 327(e), to which
employment there is no opposition by the United States trustee.
The exceptional circumstances required to qualify on an equitable
basis for retroactive compensation in this circuit have been
established. The § 327(e) employment application is approved.
The appropriate award for such services for the counsel who is,
by virtue of this employment, now qualified under § 330(a)(1) is
$3,837.00 (to which the United States trustee no longer objects),
which sum will be included in a total final award of $179,894.24.
Orders implementing this decision will issue in separate

documents.

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UNITED \?'TATES BANKRUPTCY JUDGE

 

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